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    Exhibit 139
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From: Sattar, Sarah
Sent: Thursday, July 13, 2017 6:59 AM
To: Campbell, Jeffrey D.
Cc: *HDQ Travel Desk; *HDQ JND Desk
Subject: Travel reservation Campbell/J 13 July

Hi,

Here are your flight details,


.1CAMPBELL/JEFFREY D*449472-30-5100-STN
 1 UA5873M 13JUL 4 SNASFO*HK1 2028 2150
OPERATED BY /SKYWEST DBA UNITED EXPRESS
 2 UA1197M 14JUL 5 SFOIAH*HK1 0001 0546

Conf *******M5MDK9 /




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